Case 9:20-cv-81163-WM Document 230 Entered on FLSD Docket 09/27/2021 Page 1 of 3
            USCA11 Case: 21-12580 Date Filed: 09/27/2021 Page: 1 of 1
                                                                                                       K.P.

                           UNITED STATES COURT OF APPEALS                            Sep 27, 2021
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                                                                            Miami
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                         September 27, 2021

  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 21-12580-JJ
  Case Style: Jeffrey LaGrasso, et al v. Seven Bridges Homeowners Associations Inc.
  District Court Docket No: 9:20-cv-81163-WM

  The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
  11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
  motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
  such order. No additional time shall be allowed for mailing."

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Tiffany A. Tucker, JJ/lt
  Phone #: (404)335-6193

  Enclosure(s)

                                                                DIS-4 Multi-purpose dismissal letter
Case 9:20-cv-81163-WM Document 230 Entered on FLSD Docket 09/27/2021 Page 2 of 3
            USCA11 Case: 21-12580 Date Filed: 09/27/2021 Page: 1 of 2


                          IN THE UNITED STATES COURT OF APPEALS

                                   FOR THE ELEVENTH CIRCUIT

                                      ________________________

                                           No. 21-12580-JJ
                                      ________________________


  JEFFREY LAGRASSO,
  DEBORAH LAGRASSO,

                                                                          Plaintiffs-Appellants,

                                                   versus

  SEVEN BRIDGES HOMEOWNERS ASSOCIATIONS INC.,

                                                                          Defendant-Appellee.


                              Appeal from the United States District Court
                                  for the Southern District of Florida



  Before: WILSON, ROSENBAUM, and LAGOA, Circuit Judges.

  BY HE COURT:

          This appeal is DISMISSED, sua sponte, for lack of jurisdiction. Jeffrey LaGrasso and

  Deborah LaGrasso appeal from the district court’s orders granting partial summary judgment to

  Seven Bridges Homeowners Associations Inc. (“Seven Bridges”), declining to grant summary

  judgment to either party on the remaining claim, denying the LaGrassos’ Federal Rule of Civil

  Procedure 59(e) motion to alter or amend, and entering judgment as to one claim based on its

  partial grant of summary judgment. These orders were not final because the LaGrassos’ complaint

  is still pending as to their remaining claim, and the district court did not certify its partial grant of

  summary judgment for immediate appeal under Federal Rule of Civil Procedure 54(b). See 28
Case 9:20-cv-81163-WM Document 230 Entered on FLSD Docket 09/27/2021 Page 3 of 3
            USCA11 Case: 21-12580 Date Filed: 09/27/2021 Page: 2 of 2


  U.S.C. § 1291; World Fuel Corp. v. Geithner, 568 F.3d 1345, 1348 (11th Cir. 2009); Supreme

  Fuels Trading FZE v. Sargeant, 689 F.3d 1244, 1245–46 (11th Cir. 2012); Broussard v. Lippman,

  643 F.2d 1131, 1133 (5th Cir. Unit A Apr. 1981). Nor are the orders appealable under the collateral

  order doctrine. See Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106 (2009).

         Any pending motions are DENIED as moot. No motion for reconsideration may be filed

  unless it complies with the timing and other requirements of 11th Cir. R. 27-2 and all other

  applicable rules.




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